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 8                                 UNITED STATES DISTRICT COURT

 9                                         DISTRICT OF NEVADA

10

11    LEO HUNTER,                                         Case No. 3:18-cv-00166-HDM-CLB
12                         Petitioner,                    ORDER
13              v.
14    ISIDRO BACA, et al.,
15                         Respondents.
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17             This is a habeas corpus action under 28 U.S.C. § 2254. The court had appointed the

18   Federal Public Defender, upon his request, to represent petitioner. ECF No. 30. The deadline for

19   petitioner to file a counseled amended petition is November 9, 2020. ECF No. 33. Petitioner has

20   filed a motion for stay, or in the alternative, for an extension of time (second request) (ECF No.

21   34). Petitioner states that respondents do not oppose the stay of the action. Petitioner states that,

22   before he can file his amended petition, he needs to obtain missing trial transcripts to support one

23   of his claims, that he needs to investigate further, and that the ongoing COVID-19 pandemic has

24   put obstacles to completing these tasks. Petitioner also acknowledges that the one-year period of

25   limitation of 28 U.S.C. § 2244(d)(1) likely has expired long ago. Petitioner has shown good

26   cause to stay the action.

27             Petitioner will need to provide occasional status reports until he moves to reopen this

28   action.
                                                         1
     Case 3:18-cv-00166-HDM-CLB Document 35 Filed 11/09/20 Page 2 of 2



 1             IT THEREFORE IS ORDERED that petitioner's motion for stay (ECF No. 34) is

 2   GRANTED. This action is STAYED until petitioner is ready to file his amended petition.

 3   Further, petitioner or respondents otherwise may move to reopen the action and seek any relief

 4   appropriate under the circumstances.

 5             IT FURTHER IS ORDERED that petitioner file a status report regarding the case every

 6   one hundred twenty (120) days from the date this order is entered, until he moves to reopen this

 7   action.

 8             IT FURTHER IS ORDERED that the clerk of court shall administratively close this action

 9   until such time as the court grants a motion to reopen the action.

10             DATED: November 9, 2020
11                                                                ______________________________
                                                                  HOWARD D. MCKIBBEN
12                                                                United States District Judge
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